

Matter of Svatovic v Cooper (2020 NY Slip Op 07730)





Matter of Svatovic v Cooper


2020 NY Slip Op 07730


Decided on December 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 22, 2020

Before: Friedman, J.P., Renwick, Singh, Kennedy, Shulman, JJ


Index No. 101892/19, 100806/17 Appeal No. 12707 &amp; M-6676] Case No. 2020-02547 

[*1]In re Zarko Svatovic, Petitioner,
vMatthew F. Cooper et al., Respondents.


Zarko Svatovic, petitioner pro se.
Letitia James, Attorney General, New York (Charles F. Sanders of counsel), for respondents.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 22, 2020








